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STATE OF NEW YORK
SUPREME COURT COUNTY OF HERKIMER. INDEX NO.: EF 3993-10610
Xx Date Purchased:

TAUBERT ELECTRIC MOTORS, LLC, Plaintiff Designates:

Herkimer County as the
Plaintiff, Place of Trial
The Basis of the Venue is
vs. CPLR
LIBERTY MUTUAL INSURANCE COMPANY and SUMMONS

OHIO SECURITY INSURANCE COMPANY,

Defendants.

Plaintiff resides in County of
Herkimer, State of New York

TO THE ABOVE-NAMED DEFENDANT:

LIBERTY MUTUAL INSURANCE COMPANY and
OHIO SECURITY INSURANCE COMPANY

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a copy

of your answer, or, if the complaint is not served with this summons, to serve a notice of

appearance, on the Plaintiff's Attorney within 20 days after the service of this summons,

exclusive of the day of service (or within 30 days after the service is complete if this summons is

not personally delivered to you within the State of New York); and in case of your failure to

appear or answer, judgment will be taken against you by default for the relief demanded in the

complaint.

Dated: Sopiprter G _,2023

TO:

Liberty Mutual Insurance Company
Ohio Security Insurance Company
175 Berkeley Street

Boston, MA 02116

iff Jr.,4
Attorney for the Pla Vntiff
DETRAGLIA LAW OFFICE ~~ ~
1425 Genesee Street

Utica, New York 13501

Telephone: 315-738-1133

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STATE OF NEW YORK
SUPREME COURT COUNTY OF HERKIMER
x
TAUBERT ELECTRIC MOTORS, LLC,
Plaintiff,
COMPLAINT .
Vs. TINDER NO -EF Ja3-l 63 {o

LIBERTY MUTUAL INSURANCE COMPANY and
OHIO SECURITY INSURANCE COMPANY,

Defendants.

x
. The Plaintiff, by and through its attorney, Gustave J. DeTraglia, Jr., Esq., respectfully
shows to this Court and sets forth as follows:

1. That the Plaintiff, at all times hereinafter mentioned, was and still is a limited liability
company, doing business in the County of Herkimer and State of New York.

2. That upon information and belief, and at all times hereinafter mentioned, the
Defendants, Liberty Mutual Insurance Company and Ohio Security Insurance
Company, was and still is a property and casualty insurance company duly organized,
existing and incorporated under and by the virtue of the laws of the State of New
York, and at all times herein mentioned was authorized to do business in the State of
New York.

3. That at all times hereinafter mentioned, Defendants, Liberty Mutual Insurance
Company and Ohio Security Insurance Company, issued its policy of insurance to the
Plaintiff herein, covering business property and business interruption, as well as other
coverages, covering property and the business located at 148 Industrial Park Drive,

Frankfort, NY 13340, under policy number BKS (22) 58 09 84 30.
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4. That on or about the 15" day of September, 2021, while the policy was in full force
and effect, there was a fire at the premises leased by the Plaintiff, which caused to
damage to the business property and resulted in business interruption lost to the
Plaintiff, as well as other covered losses to the Plaintiff, and other damages, in the
sum of approximately $400,000.00, or the appropriate amount to be determined by
the Court.

5. That as a direct result of the fire damage to Plaintiff's property and business
interruption, the Plaintiff has damages still outstanding, in the sum of approximately
$400,000.00, plus interest, costs, and for such other, further and different amount as
may be determined by the Court.

6. That at all times herein mentioned, the Plaintiff had an insurable interest in the
aforesaid property as the owner thereof.

7. That immediately after the loss, the Plaintiff gave proper notice of the damage to the
Defendants, Liberty Mutual Insurance Company and Ohio Security Insurance
Company.

8. That the Plaintiff has fully performed all of the terms and conditions required under
the policy of insurance.

_ That. the_Defendants,.. LibertyMutual —_Insurance_Company. and_Ohio_Security_ _ .___ _._—.
Insurance Company, failed and refused to comply with the requirements of the policy
of insurance with regard to the Plaintiff's business property and business interruption,
and to the contrary have breached said policy, in that said Defendants, Liberty Mutual
Insurance Company and Ohio Security Insurance Company, has failed and has

refused to pay the full amount due and owing to the Plaintiff for its damages, leaving
______ Dated: SOpstoubor —G -—,2023—-—--—_.-

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a balance due and owing to the Plaintiff for the approximate sum of $400,000.00, or
the appropriate amount to be determined by the Court.

10. That this action has been commenced within two years from the time of the loss.

11. That by reason of the foregoing, the Defendants, Liberty Mutual Insurance Company
and Ohio Security Insurance Company, is now indebted to the Plaintiff for
$400,000.00, plus any additional damages available under the policy of insurance or
the appropriate amount to be determined by the court plus interest and costs.

WHEREFORE, Plaintiff demands judgment against the Defendants, Liberty Mutual
Insurance Company and Ohio Security Insurance Company, on the first cause of action, in the
sum of $400,000.00, plus interest and costs, or an appropriate amount to be determined by the
Court, together with disbursements and such other, further and different relief to which the
Plaintiff may be entitled in law or in equity, together with all incidental and consequential
damages as a result of the Defendants’ breach of a good faith duty to fairly and accurately
resolve all claims, and in the further alternative for an Order declaring that the Defendants must
cover the Plaintiff's loss, and for an Order referring the above entitled matter for the appraisal
method to determine damages, together with such other further and different relief as to the

Court may seem just and proper.

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Gustave J. DeTraglia ie fbs4 ,
Attorney for the Plainti
DETRAGLIA LAW OFFICE
1425 Genesee Street -
Utica, New York 13501
Telephone: 315-738-1133

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ATTORNEY CERTIFICATION

I, GUSTAVE J. DETRAGLIA, JR., ESQ., HEREBY CERTIFY, under penalty of
perjury, that I have no actual knowledge that the substance of any statements of fact contained in
the annexed document are false. This Certification is based solely and exclusively upon
information provided by the client, and upon the client’s information is not false and is not based
upon any review, audit, examination, inquiry or investigation made by the undersigned attorney, or
by anyone acting on behalf of said attorney.

PLEASE TAKE NOTICE that this Certification is made by the attorney as an officer of
the Court and is directed solely and exclusively to the Court in accordance with 22 NYCRR
202.16(e) and is expressly not directed or extended to the opposing party herein.

PLEASE TAKE FURTHER NOTICE that the opposing party may not and should not
rely upon this Attorney Certification in assessing the truth or validity of the information contained
in the annexed document. The credibility of this submission is no greater than the credibility of the
client represented by the undersigned attorney and the opposing party should give this document

no greater credence merely because it bear this Attorney Certification.

Dated: Soptennbsor ( _, 2023

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- Gustave J DeTiaglia ff, FSq.
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CLIENT CERTIFICATION

I, TAUBERT ELECTRIC MOTORS, LLC, by Thomas Taubert, Owner, DO
HEREBY CERTIFY, under penalty of perjury, that I have carefully read and reviewed. the
annexed SUMMONS AND COMPLAINT, and that all information contained in such document
is true and accurate in all respects to the best of my knowledge and understanding.

I FURTHER CERTIFY, under penalty of perjury, that neither my attorney, nor anyone
acting on my attomey’s behalf, was the source of any of the information contained in the
annexed document; that I provided all of the information contained in the annexed document to
my attorney; and that I understand that my attorney, in executing the Attorney Certification
required by 22 NYCRR 202.16(e) is relying entirely upon the information provided by me and
upon my certification that all such information is true and accurate.

I FURTHER CERTIFY, that the annexed document included all information which I
have provided to my attorney which is relevant to such document and that my attorney has not
deleted, omitted or excluded any such information.

Dated: Soplownbior (2023

Ze.
TAUBERT ELECTRIC MOTORS, LLC
By: Thomas Taubert, Owner

STATE OF NEW YORK )
COUNTY OF ONEIDA ) ss.:

I], TAUBERT ELECTRIC MOTORS, LLC, by: Thomas Taubert, Owner, being duly
swom deposes and says: I am the Plaintiff in the action herein; I have read the annexed
SUMMONS AND COMPLAINT and know the contents thereof and the same is true to my
knowledge, except those matters therein which are stated to be alleged on information and belief,
and as to those matters I believe them to be true.

oe ~ he /
.. TAUBERT-ELECTRIC-MOTORS, LLC-.-——-- -—— -- -
By: Thomas Taubert, Owner.

Sworn to before me this Gs day of
rr , 2023.

SUN OnomeranhS
U GUSTAVE J. DE TRAGLIA, JR.

Notary Public “ New Yo
oe Notary Public, State of
My Commission Exp: | / 3 / J?02 ) oe Reg. No. g2DE4527468 y

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Appointed in Orgs 01S 20

My Commission Expires

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